AO 257 (Rev. 6/78)             Case 3:22-mj-71419-MAG Document 1-1 Filed 10/31/22 Page 1 of 1

        DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:        COMPLAINT                   INFORMATION              INDICTMENT                            Name of District Court, and/or Judge/Magistrate Location
                                                                SUPERSEDING                             NORTHERN DISTRICT OF CALIFORNIA
           OFFENSE CHARGED
                                                                                                                  SAN FRANCISCO DIVISION
 -18 U.S.C. § 115(a)(1)(A), (b).                                            Petty
 -18 U.S.C. § 1201(d)
                                                                            Minor              DEFENDANT - U.S
                                                                            Misde-
                                                                            meanor
                                                                                              David Wayne Depape                                    FILED
                                                                            Felony                                                                     Oct 31 2022
                                                                                                  DISTRICT COURT NUMBER                               Mark B. Busby
PENALTY:        - 30 years imprisonment on 18 U.S.C. § 115(a)(1)(A), (b), and 20
                                                                                                  3:22-mj-71419 MAG                             CLERK, U.S. DISTRICT COURT
                years maximum imprisonment on 18 U.S.C. § 1201(d)                                                                            NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                                     SAN FRANCISCO
                -3 years of supervised release
                -$100 special assessment
                -$250,000 fine
                                                                                                                             DEFENDANT
                                   PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                      Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                   1)       If not detained give date any prior
                             FBI SA Stephanie Minor
                                                                                                      summons was served on above charges           
        person is awaiting trial in another Federal or State Court,                          2)       Is a Fugitive
        give name of court

                                   San Francisco, California                                 3)       Is on Bail or Release from (show District)

        this person/proceeding is transferred from another district
        per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                    IS IN CUSTODY
                                                                                             4)       On this charge
        this is a reprosecution of

                                                                                                                                       }
        charges previously dismissed                                                         5)       On another conviction
        which were dismissed on motion                             SHOW                                                                            Federal             State


                                                          }
        of:                                                      DOCKET NO.
                                                                                             6)       Awaiting trial on other charges
              U.S. ATTORNEY                 DEFENSE
                                                                                                       If answer to (6) is "Yes", show name of institution
                                                                                                                           San Francisco, California
       this prosecution relates to a

                                                                                                                                }
                                                                                                                      Yes            If "Yes"
       pending case involving this same                                                           Has detainer
                                                                                                                                     give date
       defendant                                                 MAGISTRATE                       been filed?         No             filed


                                                          }
                                                                  CASE NO.
       prior proceedings or appearance(s)                                                         DATE OF
                                                                                                  ARREST
                                                                                                                             Month/Day/Year
                                                                                                                               October 28, 2022
       before U.S. Magistrate regarding this
       defendant were recorded under                                                              Or... if Arresting Agency & Warrant were not

                                                                                                                                           Month/Day/Year
Name and Office of Person
Furnishing Information on this form                   Stephanie M. Hinds
                                                                                                  DATE TRANSFERRED
                                                                                                  TO U.S. CUSTODY
                                                                                                                                
                                      U.S. Attorney       Other U.S. Agency

Name of Assistant U.S.                                                                                 This report amends AO 257 previously submitted
Attorney (if assigned)                         Laura Vartain
                                                         ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
             SUMMONS                   NO PROCESS*              WARRANT              Bail Amount: No bail
        If Summons, complete following:
             Arraignment    Initial Appearance                                       * Where defendant previously apprehended on complaint, no new summons or
                                                                                     warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                     Date/Time:                                  Before Judge:

         Comments:
